        Case 1:18-cv-00199-LMG Document 165                Filed 08/19/22     Page 1 of 3




                UNITED STATES COURT OF INTERNATIONAL TRADE

                BEFORE: THE HONORABLE LEO M. GORDON, JUDGE


 VANDEWATER INTERNATIONAL INC.,

                    Plaintiff,

                       and

 SIGMA CORPORATION and SMITH-
 COOPER INTERNATIONAL, INC.,

              Plaintiff-Intervenors

                        v.                                      Court No.: 18-00199

 UNITED STATES,

                   Defendant,

                     and

 ISLAND INDUSTRIES,

                Defendant-Intervenor.



           PROPOSED AMENDED ORDER FOR STATUTORY INJUNCTION

       Pursuant to 19 U.S.C. § 1516a(c)(2), this Court may enjoin the liquidation of all entries

of merchandise identified below;

       Plaintiff Vandewater International Inc. and Defendant United States agree that, as

required by 19 U.S.C. § 1516a(c)(2), a proper showing has been made that the requested

injunctive relief should be granted under the circumstances;

       Plaintiff Vandewater International Inc. and Defendant United States further agree that

any injunctive relief pursuant to 19 U.S.C. § 1516a(c)(2) in this action should be limited to

entries that were entered, or withdrawn from warehouse, for consumption, on or after the date on
        Case 1:18-cv-00199-LMG Document 165                Filed 08/19/22     Page 2 of 3




which the United States Department of Commerce issued its final determination in Antidumping

Duty Order on Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of China: Final

Scope Ruling on Vandewater International Inc.’s Steel Branch Outlets, dated September 10,

2018, or that were previously suspended as of that date;

       Accordingly, it is hereby

       ORDERED that Defendant, United States, together with its delegates, officers, agents,

and servants, including employees of the U.S. Customs and Border Protection and the U.S.

Department of Commerce, is enjoined during the pendency of this litigation, including any

appeals, from issuing instructions to liquidate or making or permitting liquidation of any entries

of       Threaded or Grooved Steel Branch Outlets
          [insert Product]

from The People’s Republic of China.
      [insert Country]

(1)    That were

       ☐ produced.
       ☐ exported.
       ☐ produced and/or exported
       ☒ imported (identify producer/exporter from whom imported if needed)

       By Vandewater International Inc.                      ;
                          [insert Company]

(2)    That were the subject of the United States Department of Commerce’s final
       determination in Antidumping Duty Order on Carbon Steel Butt-Weld Pipe Fittings from
       the People’s Republic of China: Final Scope Ruling on Vandewater International Inc.’s
       Steel Branch Outlets, dated September 10, 2018;
                            [insert FR Notice]

(3)     That were entered, or withdrawn from warehouse, for consumption, on or after
September 10, 2018, or previously suspended as of that date, and remain unliquidated; and it is
further

       ORDERED that the entries subject to this injunction that were entered, or withdrawn

from warehouse, for consumption, on or after September 10, 2018 or previously suspended as of
        Case 1:18-cv-00199-LMG Document 165                Filed 08/19/22     Page 3 of 3




that date and remain unliquidated shall be liquidated in accordance with the final court decision

in this action, including all appeals and remand proceedings, as provided in 19 U.S.C. §

1516a(e); and it is further

       ORDERED that any entries inadvertently liquidated after this order is signed but before

this injunction is fully implemented by U.S. Customs and Border Protection shall be promptly

returned to unliquidated status and suspended in accordance with this injunction; and it is further

       ORDERED that any unliquidated entries of Threaded or Grooved Steel Branch Outlets

from The People’s Republic of China that were imported by Vandewater International Inc., that

were entered, or withdrawn from warehouse, for consumption, before September 10, 2018 and

were not previously suspended as of that date, shall not be subject to continued suspension of

liquidation under this injunction, but instead (unless otherwise subject to suspension for reasons

unrelated to Commerce’s September 10, 2018 scope ruling or the previous statutory injunction in

this case) must be liquidated by U.S. Customs and Border Protection without any antidumping

duties assessed, and with any antidumping duty cash deposits refunded in full, with interest.




DATED: __________________________                        _________________________
         New York, New York                                        Judge


(Added Sept.19, 2017, eff. Oct. 23, 2017.)
